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Date         Event                                                                                        Hours Costs
             Whitaker v. Farm-To-Table Eats Billing Statement

4/13/2020    Read the COMPLAINT                                                                             0.5
4/13/2020    Read the Request for Clerk to Enter Default                                                      0
4/13/2020    Read the DEFAULT BY CLERK F.R.Civ.P.55(a)                                                        0
4/14/2020    Prepared and filed MOTION to Set Aside the Default                                            0.75
4/17/2020    Exchanged emails with opposing counsel re Default                                             0.16
4/24/2020    Exchanged emails with opposing counsel re a stipulation to set aside DEFAULT                  0.16
4/28/2020    Prepared and filed a Stipulation to Set Aside the Clerk's Default                             0.25

5/11/2020    Prepared and filed a MOTION TO DISMISS                                                        3.75
5/11/2020    Prepared and filed NOTICE of Interested Parties                                                  0
5/12/2020    Reviewed and scheduled items from the Court's ORDER SETTING SCHEDULING CONFERENCE             0.25
5/22/2020    Exchanged emails w/Client                                                                     0.16
6/1/2020     Read the FIRST AMENDED COMPLAINT                                                              0.25
6/2/2020     Reviewed the ORDER DEEMING DEFENDANT'S MOTION TO DISMISS AS MOOT                                 0
7/9/2020     Emailed Client explaining status                                                              0.16
7/27/2020    Coordinated inspection of the business                                                        0.16
7/29/2020    Rule 26 Conference w/Opposing counsel                                                         0.25
7/31/2020    Filed REPLY Brief to second MOTION to Dismiss                                                    2
8/3/2020     Served Initial disclosures                                                                     0.5
8/14/2020    Prepared and filed a Unilateral REPORT Rule 26(f) Discovery Plan                               0.5
8/17/2020    Exchanged emails with opposing counsel re Rule 26(f0 Report                                   0.16
8/20/2020    Email exchange with client                                                                    0.33
8/24/2020    Prepared and filed Request for Special Accommodations                                            0
8/24/2020    Reviewed ORDER DENYING MOTION TO DISMISS FIRST AMENDED COMPLAINT                              0.33
8/25/2020    Prepared and emailed a Rule 68 Offer of Judgment to opposing counsel                          0.33
9/2/2020     Client correspondence providing status                                                        0.25

8/27/2020    Reviewed and calendared items from ORDER/REFERRAL to ADR Procedure No 2                        0.1
8/27/2020    Reviewed and calendared items from ORDER RE: JURY/COURT TRIAL                                 0.75
9/2/2020     Prepared and emailed client an update                                                         0.25
9/30/2020    Reviewed NOTICE OF ASSIGNMENT of Panel Mediator                                                0.1
9/30/2020    Prepared and served Defendant's Initial Disclosures                                            0.1
10/5/2020    Prepared and filed ANSWER                                                                      1.5
10/7/2020    Prepared and propounded Discovery - RFAs, RFPs, ROGGS                                          3.4
10/12/2020   Pre-Mediation conference with Mediator Marc D. Alexander                                      0.25
10/13/2020   Email exchange with client re motion to dismiss                                                0.1
10/26/2020   Email exchange with client re property remediation                                             0.1
11/2/2020    Email exchange with client re property photos                                                  0.5
11/3/2020    Reviewed Plaintiff's Discovery responses                                                      1.25
11/16/2020   Email exchange with client re final site inspection                                            0.1


                                                                                                    EXHIBIT J
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Date         Event                                                                                               Hours Costs
11/19/2020   Prepared and emailed correspondence to opposing counsel re Discovery responses                        0.5
11/19/2020   Email exchange with client re Discovery responses                                                     0.1
11/23/2020   Prepared and served Defendant's Discovery Responses (Set 1 and Set 2)                                   3
12/3/2020    Email exchange with client re final site inspection                                                   0.1

1/11/2021    Prepared and emailed Mediation Brief to Mediator Marc D. Alexander                                   0.75
1/11/2021    Email exchange with client re Mediation                                                              0.25
1/12/2021    MEDIATION                                                                                             1.5
1/13/2021    Reviewed MEDIATION REPORT Filed by Mediator (ADR Panel) Marc D Alexander                              0.1
1/13/2021    Email exchange with opposing counsel re settlement demand                                             0.1
3/8/2021     Exchanged emails with opposing counsel re MSJ conference                                              0.1
3/16/2021    Pre-MSJ Conference w/ counsel (Masanque)                                                             0.25
3/31/2021    Exchanged emails with opposing counsel re mootness                                                    0.1
4/1/2021     Exchanged emails with opposing counsel re re settlement                                               0.1
4/1/2021     Exchanged emails with opposing counsel re site visit                                                  0.1
4/1/2021     Exchanged emails with opposing counsel re Plaintiff's site visit                                      0.1
4/5/2021     Exchanged emails with opposing counsel re Plaintiff's site visit                                      0.1
4/8/2021     Prepared and emailed correspondence to opposing counsel re case update                                0.1
4/21/2021    Email exchange with client re Plaintiff's site visit                                                 0.16
5/5/2021     Email exchange with client re Plaintiff's site visit                                                 0.16
5/10/2021    Conference w/Client                                                                                   0.5
5/11/2021    Exchanged emails with opposing counsel re Plaintiff's site visit                                     0.25
5/12/2021    SITE VISIT Scheduled (aborted)                                                                       0.16
5/13/2021    Reviewed Plaintiff's Request for Entry and Inspection                                                0.16
5/18/2021    Email exchange with client                                                                           0.25
5/18/2021    Prepared and emailed Notice of Deposition to opposing counsel                                        0.25
5/27/2021    Served Notice of Plaintiff's Deposition                                                              0.25
5/25/2021    Exchanged emails with opposing counsel re Plaintiff's site visit                                     0.25
6/1/2021     Conference w/Client re condition of the property                                                      0.5
6/2/2021     Email exchange with client                                                                           0.25
6/8/2021     Email exchange with Simpson Deposition re Deposition of Brian Whitaker                                0.1
6/8/2021     LR 7-3 Meeting of counsel re MSJ; follow-up emails                                                    0.1
6/9/2021     Deposition of Brian L. Whitaker ($658)                                                                  4   $658
6/11/2021    Read the Plaintiff's Expert Witness Disclosures                                                      0.25
6/18/2021    Designated Expert                                                                                    0.16
6/21/2021    Prepared and filed the MOTION for Summary Judgment                                                     14
7/2/2021     Read Plaintiff's OPPOSITION to Defendants Motion for Summary Judgment                                 0.5
7/9/2021     Prepared and filed REPLY In Support NOTICE OF MOTION AND MOTION for Summary Judgment                 4.25
7/13/2021    Prepared and filed NOTICE OF ERRATA filed by Defendant Farm-To-Table Eats, Inc.. correcting Reply    0.75
7/14/2021    Email exchange with opposing counsel re Rule 16 conference                                            0.1
7/21/2021    (IN CHAMBERS) ORDER TAKING DEFENDANT'S MOTION FOR SUMMARY JUDGMENT UNDER SUBMISSION                     0
8/2/2021     Exchanged emails with opposing counsel re Rule 16 conference                                          0.1
8/11/2021    Paid Simpson Deposition Invoice ($658)                                                                  0
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Date        Event                                                                                             Hours Costs
8/24/2021   Prepared and filed NOTICE of Change of address                                                        0
8/24/2021   Prepared and reviewed the ORDER GRANTING MOTION FOR SUMMARY JUDGMENT                                0.5
8/25/2021   Spoke to the client re the Order on Summary Judgment                                               0.33
8/25/2021   Emailed client re cae dismissal                                                                     0.1
8/25/2021   Exchanged emails with opposing counsel re attorney's fees                                           0.5
8/26/2021   Exchanged emails with opposing counsel re attorney's fees                                          0.16
8/31/2021   Email excchange w/counsel; Prepared and filed the Proposed Order                                    0.5
9/15/2021   JUDGMENT ENTERED                                                                                      0
9/29/2021   Prepared and filed Motion for Attorney's Fees                                                      4.75

                                                                                                Total Hours   61.34
                                                                                   Fees = Hours * $450/Hr $27,603
                                                                                                    Costs         $658
